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                                                     Friday, June 7, 2024



                                                                                                         Proclamation 10773 of June 3, 2024

                                                                                                         Securing the Border


                                                                                                         By the President of the United States of America

                                                                                                         A Proclamation
                                                                                                         There are more people around the world who are displaced from their
                                                                                                         homes today than at any point in time since World War II. Many factors
                                                                                                         have contributed to this problem. Failing regimes and dire economic condi-
                                                                                                         tions afflict many countries, including several in the Western Hemisphere.
                                                                                                         Violence linked to transnational criminal organizations has displaced sub-
                                                                                                         stantial numbers of people in Latin America. The global COVID–19 pandemic
                                                                                                         upended societies around the globe. Natural disasters have forced people
                                                                                                         from their homes.
                                                                                                         As a result of these global conditions, we have been experiencing substantial
                                                                                                         levels of migration throughout the Western Hemisphere, including at our
                                                                                                         southwest land border. In 2019, encounters nearly doubled from their 2018
                                                                                                         level to almost 1 million. In 2020, the global COVID–19 pandemic led
                                                                                                         countries throughout the world to shut their borders and suspend inter-
                                                                                                         national travel; however, once the pandemic began to recede, international
                                                                                                         travel resumed, and we again experienced elevated levels of migration
                                                                                                         throughout the Western Hemisphere, including at our southwest land border.
                                                                                                         On May 11, 2023, as part of my Administration’s work to prepare for
                                                                                                         the end of the Centers for Disease Control and Prevention’s public health
                                                                                                         order under title 42, United States Code, and to return to processing all
                                                                                                         noncitizens under immigration authorities under title 8, United States Code
                                                                                                         (title 8), the Department of Homeland Security (DHS) and the Department
                                                                                                         of Justice (DOJ) issued a final rule, entitled Circumvention of Lawful Path-
                                                                                                         ways (Lawful Pathways rule), encouraging the use of lawful pathways and
                                                                                                         imposing a rebuttable presumption of asylum ineligibility on those who
                                                                                                         do not use them.
                                                                                                         The Lawful Pathways rule was designed to address the high levels of migra-
                                                                                                         tion throughout the Western Hemisphere and further discourage irregular
                                                                                                         migration by encouraging migrants to use lawful, safe, and orderly processes
                                                                                                         for entering the United States or to seek protection in other partner nations;
                                                                                                         imposing a presumptive condition on asylum eligibility for those who fail
                                                                                                         to do so; and supporting the swift return of those who do not have valid
                                                                                                         protection claims.
                                                                                                         As a complement to the Lawful Pathways rule and associated enforcement
                                                                                                         efforts, the Department of State and DHS have taken significant steps to
                                                                                                         expand safe and orderly pathways for migrants to enter the United States
                                                                                                         lawfully. Those steps include establishing Safe Mobility Offices in Colombia,
                                                                                                         Costa Rica, Ecuador, and Guatemala to facilitate access to lawful pathways;
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                                                                                                         expanding country-specific and other available processes to seek parole on
                                                                                                         a case-by-case basis for urgent humanitarian reasons or significant public
                                                                                                         benefit; expanding access to visa programs for seasonal employment; estab-
                                                                                                         lishing a mechanism for noncitizens to schedule a time and place to present
                                                                                                         at ports of entry in a safe, orderly, and lawful manner through the CBP
                                                                                                         One mobile application; and expanding refugee admissions from the Western
                                                                                                         Hemisphere from 5,000 in Fiscal Year 2021 to up to 50,000 in Fiscal Year
                                                                                                         2024.


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                                                                                                         The Lawful Pathways rule and these complementary measures have made
                                                                                                         a substantial impact. On May 12, 2023, DHS returned to processing all
                                                                                                         noncitizens under title 8 immigration authorities and is processing nonciti-
                                                                                                         zens at record scale and efficiency. Since then, my Administration has
                                                                                                         maximized the use of expedited removal to the greatest extent possible
                                                                                                         given limited resources, placing more than 970 individuals encountered
                                                                                                         at and between ports of entry at the southwest land border into the process
                                                                                                         each day on average and conducting more than 152,000 credible fear inter-
                                                                                                         views, both of which are record highs. As a result, from May 12, 2023,
                                                                                                         to May 1, 2024, my Administration removed or returned more than 720,000
                                                                                                         noncitizens who did not have a lawful basis to remain in the United States,
                                                                                                         the vast majority of whom crossed the southwest land border. Total removals
                                                                                                         and returns in the 12 months following May 12, 2023, exceeded removals
                                                                                                         and returns in every full Fiscal Year since 2010. The majority of all individ-
                                                                                                         uals encountered at the southwest land border from Fiscal Year 2021 to
                                                                                                         Fiscal Year 2023 were removed, returned, or expelled.
                                                                                                         Despite these efforts, and after months of reduced encounter levels following
                                                                                                         the changes put in place after May 12, 2023, encounter levels increased
                                                                                                         toward the end of 2023, and December 2023 saw the highest level of encoun-
                                                                                                         ters between ports of entry in history, as increasing numbers of people
                                                                                                         migrated through the Western Hemisphere. The challenges presented by
                                                                                                         this surge in migration, which would have been even worse had the Lawful
                                                                                                         Pathways rule and other measures not been in place, were compounded
                                                                                                         by the fact that the surge was focused increasingly on western areas of
                                                                                                         the border in California and Arizona that are geographically remote, chal-
                                                                                                         lenging to address, and without sufficient pre-existing infrastructure or re-
                                                                                                         sources to respond to the surge. From January to March 2024, encounters
                                                                                                         decreased from and have remained below levels experienced in November
                                                                                                         and December 2023, including as a result of increased enforcement by the
                                                                                                         United States and partner countries. However, the factors that are driving
                                                                                                         the unprecedented movement of people in our hemisphere remain, and
                                                                                                         there is still a substantial and elevated level of migration that continues
                                                                                                         to pose significant operational challenges.
                                                                                                         The current situation is also the direct result of the Congress’s failure to
                                                                                                         update an immigration and asylum system that is simply broken—and not
                                                                                                         equipped to meet current needs. While my Administration has vigorously
                                                                                                         enforced the law within the constraints imposed by the existing system,
                                                                                                         the statutory framework put in place by the Congress is outdated. For the
                                                                                                         vast majority of people in immigration proceedings, the current laws make
                                                                                                         it impossible to quickly grant protection to those who require it and to
                                                                                                         quickly remove those who do not establish a legal basis to remain in the
                                                                                                         United States. This reality is compounded by the fact that the Congress
                                                                                                         has chronically underfunded our border security and immigration system
                                                                                                         and has failed to provide the resources or reforms it needs to be able
                                                                                                         to deliver timely consequences to most individuals who cross unlawfully
                                                                                                         and cannot establish a legal basis to remain in the United States.
                                                                                                         Despite the strengthened consequences in place at our border through the
                                                                                                         Lawful Pathways rule and the related measures that have led to record
                                                                                                         returns and removals, encounter levels are exceeding our capacity to deliver
                                                                                                         those consequences in a timely manner due to the outdated laws and limited
                                                                                                         resources we have available.
                                                                                                         My Administration has repeatedly asked the Congress to update the outdated
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                                                                                                         and inadequate immigration statutes, to create a legal framework that is
                                                                                                         functional and addresses current realities, and to provide additional resources
                                                                                                         so that we can more effectively deliver consequences at the border. In
                                                                                                         August 2023, I requested more than $4 billion in additional funding for
                                                                                                         border security and related migration issues, including more than $2 billion
                                                                                                         for urgent DHS border management requirements. The Congress failed to
                                                                                                         act. In October 2023, I requested $13.6 billion for border enforcement and
                                                                                                         migration management. This request included more than $5 billion for DHS


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                                                                                                         to manage conditions on the southern border, as well as funding for critical
                                                                                                         capacity enhancements to keep the southern border secure. The Congress
                                                                                                         once again failed to provide our border and immigration system with the
                                                                                                         resources it needs to deliver timely consequences to those who cross unlaw-
                                                                                                         fully.
                                                                                                         In early February 2024, a bipartisan group of Senators introduced legislation
                                                                                                         (bipartisan legislative proposal) containing the toughest and fairest reforms
                                                                                                         of our asylum laws in decades that would have provided new authorities
                                                                                                         to significantly streamline and speed up immigration enforcement pro-
                                                                                                         ceedings for individuals encountered at the border, including those who
                                                                                                         are seeking protection. Critically, the bipartisan legislative proposal included
                                                                                                         nearly $20 billion in additional resources for DHS and other departments
                                                                                                         to implement those new authorities, such as:
                                                                                                           (a) over 1,500 new U.S. Customs and Border Protection (CBP) personnel,
                                                                                                         including Border Patrol agents and CBP officers;
                                                                                                           (b) over 4,300 new asylum officers and additional U.S. Citizenship and
                                                                                                         Immigration Services staff to facilitate timely and fair decisions;
                                                                                                           (c) 100 new immigration judge teams to help reduce the asylum caseload
                                                                                                         backlog and adjudicate cases more quickly;
                                                                                                           (d) shelter and critical services for newcomers in our cities and States;
                                                                                                         and
                                                                                                           (e) 1,200 new U.S. Immigration and Customs Enforcement personnel for
                                                                                                         functions including enforcement and deportations.
                                                                                                         While the bipartisan legislative proposal did not include everything we
                                                                                                         wanted, senior officials from my Administration worked closely with the
                                                                                                         bipartisan group of Senators to ensure that the reforms would adequately
                                                                                                         address the challenges that we have been facing at our southern border
                                                                                                         for more than a decade. However, the Congress failed to move forward
                                                                                                         with this bipartisan legislative proposal.
                                                                                                         The Further Consolidated Appropriations Act, 2024 (Public Law 118–47)
                                                                                                         increased funding for DHS over Fiscal Year 2023, but it did not address
                                                                                                         the needs identified in various related supplemental requests, nor did it
                                                                                                         equip the Federal Government with the new authorities from the bipartisan
                                                                                                         legislative proposal. In May 2024, when the Senate again considered the
                                                                                                         bipartisan legislative proposal, the Senate failed to advance the measure.
                                                                                                         Our broken immigration system is directly contributing to the historic migra-
                                                                                                         tion we are seeing throughout the Western Hemisphere, exacerbated by
                                                                                                         poor economic conditions, natural disasters, and general insecurity, and
                                                                                                         this fact, combined with inadequate resources to keep pace, has once again
                                                                                                         severely strained our capacity at the border. The result is a vicious cycle
                                                                                                         in which our United States Border Patrol facilities constantly risk over-
                                                                                                         crowding, our detention system has regularly been at capacity, and our
                                                                                                         asylum system remains backlogged and cannot deliver timely decisions,
                                                                                                         all of which spurs more people to make the dangerous journey north to
                                                                                                         the United States.
                                                                                                         The Congress’s failure to deliver meaningful policy reforms and adequate
                                                                                                         funding, despite repeated requests that they do so, is a core cause of this
                                                                                                         problem. Under current law, whenever a noncitizen in expedited removal
                                                                                                         indicates an intention to apply for asylum or a fear of persecution, they
                                                                                                         are referred for an interview with an asylum officer and cannot be removed
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                                                                                                         through expedited removal if there is a significant possibility that they
                                                                                                         could establish eligibility for asylum. This screening standard is a require-
                                                                                                         ment imposed by the Congress, but it has not functioned well in predicting
                                                                                                         ultimate success in asylum proceedings. From 2014 to 2019, 83 percent
                                                                                                         of individuals referred for an interview with an asylum officer passed the
                                                                                                         screening stage, meaning that they were not removed pursuant to expedited
                                                                                                         removal, but less than 25 percent of cases ultimately resulted in a grant
                                                                                                         of asylum or other protection, often after waiting years to reach a final


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                                                                                                         decision. By imposing a rebuttable presumption of asylum ineligibility on
                                                                                                         those who cross the border unlawfully, the Lawful Pathways rule has made
                                                                                                         a meaningful impact in reducing this disparity. The screen-in rate from
                                                                                                         May 12, 2023, to March 31, 2024, dropped to 52 percent for individuals
                                                                                                         who are subject to the rebuttable presumption of asylum ineligibility. How-
                                                                                                         ever, the Lawful Pathways rule alone is inadequate during times of record
                                                                                                         encounter levels and cannot change the underlying statutory limitations.
                                                                                                         Data confirm that the system has been badly strained for many years and
                                                                                                         is not functioning to provide timely relief for those who warrant it or
                                                                                                         timely consequences for those without viable protection claims. Due to
                                                                                                         an outdated and inefficient system and insufficient resources that do not
                                                                                                         allow for prompt adjudication of claims, too many people have had to
                                                                                                         be processed by the Border Patrol and released with a notice to appear
                                                                                                         in removal proceedings before an immigration judge since May 2023. The
                                                                                                         U.S. Citizenship and Immigration Service affirmative asylum backlog is now
                                                                                                         over 1 million cases and growing, with over 300,000 applications filed
                                                                                                         prior to 2021 still pending. At the end of Fiscal Year 2023, there were
                                                                                                         over 2.4 million cases pending in the immigration courts. Pending cases
                                                                                                         more than doubled from the end of Fiscal Year 2016 to the end of Fiscal
                                                                                                         Year 2020 and doubled again between that time and the end of Fiscal
                                                                                                         Year 2023. Between Fiscal Year 2006 and the end of Fiscal Year 2023,
                                                                                                         in tandem with historic increases in filings to initiate immigration court
                                                                                                         proceedings, the immigration courts’ pending caseload increased from ap-
                                                                                                         proximately 170,000 to approximately 2.46 million. During Fiscal Year 2023,
                                                                                                         immigration judges completed more cases than they ever had before in
                                                                                                         a single year, but more than twice as many cases were received by the
                                                                                                         immigration courts than were completed.
                                                                                                         The status quo system—the result of outdated laws and inadequate re-
                                                                                                         sources—has become a driver for unlawful migration throughout the region
                                                                                                         and an increasingly lucrative source of income for dangerous transnational
                                                                                                         criminal organizations and other criminal smuggling organizations that, with-
                                                                                                         out countermeasures, will continue to grow in strength and pose significant
                                                                                                         threats to the safety and security of United States communities and migrants,
                                                                                                         as well as countries throughout the region.
                                                                                                         Considering these trends and the decades-long failure of the Congress to
                                                                                                         address the problem through systemic reform and adequate funding, and
                                                                                                         following the Congress’s failure to pass the bipartisan legislative proposal,
                                                                                                         I must exercise my executive authorities to meet the moment. This proclama-
                                                                                                         tion answers the call by suspending entry of noncitizens across the southern
                                                                                                         border during this time of high border crossings. Appropriate exceptions
                                                                                                         are provided, such as for those who are particularly vulnerable or present
                                                                                                         pursuant to a process the Secretary of Homeland Security determines is
                                                                                                         appropriate to allow for safe and orderly processing into the United States.
                                                                                                         That process will continue to allow for individuals to seek entry to this
                                                                                                         country each day in a safe and orderly manner, and following their arrival,
                                                                                                         to seek protection through the appropriate process. This proclamation, in
                                                                                                         conjunction with steps to be taken by DOJ and DHS, is needed to enhance
                                                                                                         our ability to address the historic levels of migration and more efficiently
                                                                                                         process migrants arriving at the southern border given current resource
                                                                                                         levels.
                                                                                                         These actions do not change or fully compensate for the fact that our
                                                                                                         immigration system is under-resourced and broken, nor do they change
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                                                                                                         the fact that there are significant limits to what can be achieved without
                                                                                                         the Congress fulfilling its responsibility to help solve the unprecedented
                                                                                                         challenge that we are facing. No executive action can deliver the significant
                                                                                                         policy reforms and additional resources that were in the bipartisan legislative
                                                                                                         proposal. But I will continue to take actions, within these constraints, to
                                                                                                         address the situation at our southern border.
                                                                                                         NOW, THEREFORE, I, JOSEPH R. BIDEN JR., President of the United States,
                                                                                                         by the authority vested in me by the Constitution and the laws of the


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                                                                                                         United States of America, including sections 212(f) and 215(a) of the Immigra-
                                                                                                         tion and Nationality Act (8 U.S.C. 1182(f) and 1185(a)) and section 301
                                                                                                         of title 3, United States Code, hereby find that, absent the measures set
                                                                                                         forth in this proclamation, the entry into the United States of persons de-
                                                                                                         scribed in section 1 of this proclamation under circumstances described
                                                                                                         in section 2 of this proclamation would be detrimental to the interests
                                                                                                         of the United States, and that their entry should be subject to certain restric-
                                                                                                         tions, limitations, and exceptions. I therefore hereby proclaim the following:
                                                                                                         Section 1. Suspension and Limitation on Entry. The entry of any noncitizen
                                                                                                         into the United States across the southern border is hereby suspended and
                                                                                                         limited, subject to section 3 of this proclamation. This suspension and
                                                                                                         limitation on entry shall be effective at 12:01 a.m. eastern daylight time
                                                                                                         on June 5, 2024. The suspension and limitation directed in this proclamation
                                                                                                         shall be discontinued pursuant to subsection 2(a) of this proclamation, subject
                                                                                                         to subsection 2(b) of this proclamation.
                                                                                                         Sec. 2. Applicability of Suspension and Limitation on Entry. (a) The Secretary
                                                                                                         of Homeland Security shall monitor the number of daily encounters and,
                                                                                                         subject to subsection (b) of this section, the suspension and limitation on
                                                                                                         entry pursuant to section 1 of this proclamation shall be discontinued at
                                                                                                         12:01 a.m. eastern time on the date that is 14 calendar days after the
                                                                                                         Secretary makes a factual determination that there has been a 7-consecutive-
                                                                                                         calendar-day average of less than 1,500 encounters, not including encounters
                                                                                                         described in subsection 4(a)(iii) of this proclamation.
                                                                                                           (b) Notwithstanding a factual determination made under subsection (a)
                                                                                                         of this section, the suspension and limitation on entry pursuant to section
                                                                                                         1 of this proclamation shall apply at 12:01 a.m. eastern time on the calendar
                                                                                                         day immediately after the Secretary has made a factual determination that
                                                                                                         there has been a 7-consecutive-calendar-day average of 2,500 encounters
                                                                                                         or more, not including encounters described in subsection 4(a)(iii) of this
                                                                                                         proclamation, until such suspension and limitation on entry is discontinued
                                                                                                         pursuant to subsection (a) of this section.
                                                                                                            (c) For purposes of subsection (a) and subsection (b) of this section,
                                                                                                         unaccompanied children (as defined in section 279(g)(2) of title 6, United
                                                                                                         States Code) from non-contiguous countries shall not be included in calcu-
                                                                                                         lating the number of encounters.
                                                                                                         Sec. 3. Scope and Implementation of Suspension and Limitation on Entry.
                                                                                                         (a) The suspension and limitation on entry pursuant to section 1 of this
                                                                                                         proclamation shall apply across the southern border to noncitizens, other
                                                                                                         than those described in subsection (b) of this section, during such times
                                                                                                         that the suspension and limitation on entry is in effect.
                                                                                                            (b) The suspension and limitation on entry pursuant to section 1 of this
                                                                                                         proclamation shall not apply to:
                                                                                                            (i) any noncitizen national of the United States;
                                                                                                            (ii) any lawful permanent resident of the United States;
                                                                                                            (iii) any unaccompanied child as defined in section 279(g)(2) of title
                                                                                                            6, United States Code;
                                                                                                            (iv) any noncitizen who is determined to be a victim of a severe form
                                                                                                            of trafficking in persons, as defined in section 7102(16) of title 22, United
                                                                                                            States Code;
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                                                                                                            (v) any noncitizen who has a valid visa or other lawful permission to
                                                                                                            seek entry or admission into the United States, or presents at a port
                                                                                                            of entry pursuant to a pre-scheduled time and place, including:
                                                                                                              (A) members of the United States Armed Forces and associated per-
                                                                                                            sonnel, United States Government employees or contractors on orders
                                                                                                            abroad, or their accompanying family members who are on their orders
                                                                                                            or are members of their household;


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                                                                                                              (B) noncitizens who hold a valid visa or who have all necessary docu-
                                                                                                            ments required for admission consistent with the requirements of section
                                                                                                            1182(a)(7) of title 8, United States Code, upon arrival at a port of entry;
                                                                                                              (C) noncitizens traveling pursuant to the visa waiver program as de-
                                                                                                            scribed in section 1187 of title 8, United States Code; and
                                                                                                              (D) noncitizens who arrive in the United States at a southwest land
                                                                                                            border port of entry pursuant to a process the Secretary of Homeland
                                                                                                            Security determines is appropriate to allow for the safe and orderly entry
                                                                                                            of noncitizens into the United States;
                                                                                                            (vi) any noncitizen who is permitted to enter by the Secretary of Homeland
                                                                                                            Security, acting through a CBP immigration officer, based on the totality
                                                                                                            of the circumstances, including consideration of significant law enforce-
                                                                                                            ment, officer and public safety, urgent humanitarian, and public health
                                                                                                            interests at the time of the entry or encounter that warranted permitting
                                                                                                            the noncitizen to enter; and
                                                                                                            (vii) any noncitizen who is permitted to enter by the Secretary of Homeland
                                                                                                            Security, acting through a CBP immigration officer, due to operational
                                                                                                            considerations at the time of the entry or encounter that warranted permit-
                                                                                                            ting the noncitizen to enter.
                                                                                                            (c) An exception under subsection (b) of this section from the suspension
                                                                                                         and limitation on entry pursuant to section 1 of this proclamation does
                                                                                                         not affect a noncitizen’s inadmissibility under the Immigration and Nation-
                                                                                                         ality Act for a reason other than the applicability of this proclamation.
                                                                                                            (d) The Secretary of Homeland Security and the Attorney General are
                                                                                                         authorized to issue any instructions, orders, or regulations as may be nec-
                                                                                                         essary to implement this proclamation, including the determination of the
                                                                                                         exceptions in subsection (b) of this section, and shall promptly consider
                                                                                                         issuing any instructions, orders, or regulations as may be necessary to address
                                                                                                         the circumstances at the southern border, including any additional limitations
                                                                                                         and conditions on asylum eligibility that they determine are warranted,
                                                                                                         subject to any exceptions that they determine are warranted.
                                                                                                           (e) Nothing in this proclamation shall limit the statutory processes afforded
                                                                                                         to unaccompanied children upon entering the United States under section
                                                                                                         279 of title 6, United States Code, and section 1232 of title 8, United
                                                                                                         States Code.
                                                                                                         Sec. 4. Definitions. (a) The term ‘‘encounter’’ refers to a noncitizen who:
                                                                                                           (i) is physically apprehended by CBP immigration officers within 100
                                                                                                           miles of the United States southwest land border during the 14-day period
                                                                                                           immediately after entry between ports of entry;
                                                                                                            (ii) is physically apprehended by DHS personnel at the southern coastal
                                                                                                            borders during the 14-day period immediately after entry between ports
                                                                                                            of entry; or
                                                                                                           (iii) is determined to be inadmissible at a southwest land border port
                                                                                                           of entry.
                                                                                                           (b) The term ‘‘southern coastal borders’’ means all maritime borders in
                                                                                                         Texas, Louisiana, Mississippi, Alabama, and Florida; all maritime borders
                                                                                                         proximate to the southwest land border, the Gulf of Mexico, and the southern
                                                                                                         Pacific coast in California; and all maritime borders of the United States
                                                                                                         Virgin Islands and Puerto Rico.
                                                                                                           (c) The term ‘‘southwest land border’’ means the entirety of the United
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                                                                                                         States land border with Mexico.
                                                                                                           (d) The term ‘‘southern border’’ means the southwest land border and
                                                                                                         the southern coastal borders.
                                                                                                         Sec. 5. Severability. It is the policy of the United States to enforce this
                                                                                                         proclamation to the maximum extent possible to advance the interests of
                                                                                                         the United States. Accordingly, if any provision of this proclamation, or
                                                                                                         the application of any provision to any person or circumstance, is held


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                                                                                                         to be invalid, the remainder of this proclamation and the application of
                                                                                                         its provisions to any other persons or circumstances shall not be affected
                                                                                                         thereby.
                                                                                                         Sec. 6. General Provisions. (a) Nothing in this proclamation shall be construed
                                                                                                         to impair or otherwise affect:
                                                                                                           (i) the authority granted by law to an executive department or agency,
                                                                                                           or the head thereof; or
                                                                                                           (ii) the functions of the Director of the Office of Management and Budget
                                                                                                           relating to budgetary, administrative, or legislative proposals.
                                                                                                           (b) This proclamation shall be implemented consistent with applicable
                                                                                                         law and subject to the availability of appropriations.
                                                                                                            (c) This proclamation is not intended to, and does not, create any right
                                                                                                         or benefit, substantive or procedural, enforceable at law or in equity by
                                                                                                         any party against the United States, its departments, agencies, or entities,
                                                                                                         its officers, employees, or agents, or any other person.
                                                                                                         IN WITNESS WHEREOF, I have hereunto set my hand this third day of
                                                                                                         June, in the year of our Lord two thousand twenty-four, and of the Independ-
                                                                                                         ence of the United States of America the two hundred and forty-eighth.




                                                     [FR Doc. 2024–12647
                                                     Filed 6–6–24; 8:45 am]
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